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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                                             CASE NO.: 21-20206-BKC-PDR
                                                                          PROCEEDING UNDER CHAPTER 13

IN RE:

ANNETTA MCCALLA
XXX-XX-1546
CURTIS MCNEAL
XXX-XX-2479

DEBTORS
_____________________________/

                                       NOTICE OF
             CONTINUED 341 MEETING OF CREDITORS AND CONFIRMATION HEARING

   YOU ARE HEREBY NOTIFIED that the §341 Meeting of Creditors has been continued to
December 22, 2021 at 2:00 PM at the UNITED STATES FEDERAL BANKRUPTCY COURTHOUSE,
299 EAST BROWARD BOULEVARD, ROOM 411, FORT LAUDERDALE, FL 33301.

*MEETING WILL BE HELD BY TELEPHONE*

FT LAUDERDALE DIVISION:
DIAL-IN NUMBER: 877-506-8679
PARTICIPANT CODE: 6439599

PLEASE TAKE NOTICE that a Confirmation hearing will be held on:

Date: January 3, 2022
Time: 9:00 AM
Location: Video Conference by Zoom for Government

The hearing scheduled by this notice will take place only       by video conference. DO NOT GO TO THE
COURTHOUSE. Attorneys must advise their clients not to          appear at the courthouse. Although conducted
by video conference, the hearing is a court proceeding.          The formalities of the courtroom must be
observed. All participants must dress appropriately, exercise    civility, and otherwise conduct themselves in
a manner consistent with the dignity of the Court.

To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day before
the date of the hearing. To register, click on or enter the following registration link in a browser:

https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ7QUKGhcZ7k

ROBIN R. WEINER, must:
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                                                                     NOTICE OF CONTINUED 341 MEETING OF CREDITORS
                                                                                        CASE NO.: 21-20206-BKC-PDR



   (a)    serve a copy of this notice of hearing and, unless previously served, the above-described
          document(s) on all required parties within the time frame required by the Federal Rules of
          Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

   (b)    file a certificate of service as required under Local Rules 2002-1(F) and 9073-1(B).

Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
heard thereon.

PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
official record of the hearing.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Continued
341 Meeting of Creditors and Confirmation Hearing was served, via U.S. first class mail, certified mail
and/or CM/ECF, upon the parties listed on the attached service list this 2nd day of December, 2021.

                                                                         /s/ Robin R. Weiner
                                                                         _____________________________________
                                                                         ROBIN R. WEINER, ESQUIRE
                                                                         STANDING CHAPTER 13 TRUSTEE
                                                                         P.O. BOX 559007
                                                                         FORT LAUDERDALE, FL 33355-9007
                                                                         TELEPHONE: 954-382-2001
                                                                         FLORIDA BAR NO.: 861154
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                                                    NOTICE OF CONTINUED 341 MEETING OF CREDITORS
                                                                       CASE NO.: 21-20206-BKC-PDR

                                     SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
ANNETTA MCCALLA
CURTIS MCNEAL
1251 NW 51 AVE.
LAUDERHILL, FL 33313

ROBIN R. WEINER IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS NOTICE TO
ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT THEREOF.
